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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA

                            Alexandria Division



 HALOZYME, INC.,

       Plaintiff,



 V.                                   Civil Action No. l:16-cv-1580



 JOSEPH MATAL,

       Defendant.



                                    ORDER


       THIS MATTER comes before the Court on Defendant's Motion

 for Summary Judgment and Plaintiff s Motion for Partial Summary

 Judgment.     The Court finds that there are issues of material

 fact in dispute.     Accordingly, it is hereby

       ORDERED that     Defendant's    Motion for    Summary   Judgment is

 DENIED, and Plaintiff's Motion for Partial Summary Judgment is

 DENIED.




                                            CLAUDE M. HILTON
                                            UNITED STATES DISTRICT JUDGE


 Alexandria, Virginia
 October 2^ / 2017
